Case 3:13-cv-00416-JMM Document14 _ Filed 05/31/13 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMARA BORTREE, : No. 3:13cv416
Plaintiff :

(Judge Munley)
V.

PERFORMANT RECOVERY, INC.
and DOES 1 through 10,
Defendants

ORDER OF DISMISSAL
Upon notice to the Court by the plaintiff that this case is settled, it is
hereby ordered that this case is dismissed without costs. The parties will

have forty (40) days in which to consummate the settlement.

BY THE COURP:
wt?
)
JUDGE JAMES M. MU
United States District C

Date:

